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                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF CALIFORNIA




Epic Games, Inc.,

                    Plaintiff          Civil Action No. 4:20-CV-05640-YGR
          v.

Apple Inc.,

                    Defendant




    REBUTTAL EXPERT REPORT OF FRANCINE LAFONTAINE, PH.D.

                                March 15, 2021




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2. SUMMARY OF OPINIONS

21. Based on my review of the evidence and my economic analysis, I reach the following
conclusions.

       On market definition, the relevant antitrust product market is the market for
       game transactions on digital transaction platforms. The relevant antitrust
       geographic market is the United States. Combined, I conclude that the relevant
       antitrust product market is the market for game transactions on digital
       transaction platforms that operate in the US.
       On market power, I conclude that both market structure and market outcomes
       are inconsistent with Apple having monopoly power or the ability to impose
       supracompetitive quality-adjusted prices.


       quality-adjusted prices lead me to conclud
       the App Store cannot have harmed competition or have inflicted competitive
       harm on Epic.



       competitive effects conclusions are erroneous and without merit.

22. I reach these main conclusions based on the following more granular conclusions.

23. First, the general role of market definition in antitrust matters is to identify
competitive constraints relevant to the conduct at issue and thus assist in evaluating
specific theories of harm (§ 3.1, p. 18). The focus of market definition is therefore on the
ability and willingness of customers to substitute to alternatives, and the appropriate
                                             the customer (§ 3.2, p. 20). Economists and
antitrust agencies define relevant antitrust markets as intuitive, natural groupings based

the narrowest set of products that satisfy the hypothetical monopolist test (§ 3.3, p. 22).
Finally, in the context of two-sided transaction platforms, it is critical to consider
customers on both                                       n this matter, game developers
and consumers who play games (§ 3.4, p. 24).




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24. With these general principles in mind, I find that the relevant antitrust product
market is the market for game transactions on digital transaction platforms, including
downloads, updates, and in-app purchases.45 This conclusion is supported by:

                                                         h Dr. Evans now agrees with (§ 4.1.1,
       p. 29);
       The need to consider both game deve


       The need to include the product that Apple sells and Epic buys, but also consider
       whether alternatives exist beyond the App Store for developers and consumers
       (§ 4.1.3, p. 31);
       The fact that multiple transaction platforms offer digital game transactions,
       which constitute competitive alternatives to customers on both sides of the
                                                ed by quantitative (§ 4.1.5, p. 34) and
       qualitative (§ 4.1.6, p. 37) evidence


       The need to consider transactions on other devices where consumers might play
       games, which should be analyzed as substitutes, not complements, to
       transactions through the App Store (§ 4.1.7, p. 39); and
       This market definition being consistent with the forward-looking nature of the
       injunction inquiry at issue in this litigation (§ 4.1.8, p. 41).

25.                                                 et definition questions. First, I discuss

case. They also do not warrant expanding the relevant product market from game
transactions to all app transactions. In
                                         tion concepts (§ 4.2.1, p. 44); neither app
transactions nor digital game transactions meet the criteria for bundle markets (§ 4.2.2,
p. 45); cluster markets can only be defined for analytical convenience when underlying
independent product markets face similar competitive conditions (§ 4.2.3, p. 46); game
and non-game transactions face different competitive conditions and hence cannot
appropriately be clustered together (§ 4.2.4, p. 48); and expanding the relevant market
to all app transactions would undermine the ability of the relevant market to assist in
evaluating the theory of harm in this case (§ 4.2.5, p. 50).



45In general, when I use the term downloads I refer to initial app downloads, subsequent downloads
of already purchased apps that had been deleted or on a new device, and app updates, all of which
are facilitated by the App Store.

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26.



      Dr. Evans now concedes that the App Store is a two-sided transaction platform,
      which means that the relevant market definition question is customer
      substitution of transactions, not devices (§ 4.3.1, p. 54);
      The foremarket/aftermarket framework is inapplicable to the present case
      because consumers who play games frequently multi-home and are not locked-in
      (§ 4.3.2, p. 55); the same is true of game developers (§ 4.3.3, p. 56);
                                            een from the fact that his approach would
      also overstate market power in other contexts (§ 4.3.4, p. 57);
      Because both sides of game transaction platforms multi-home, Epic and Dr.

      these consumers (§ 4.3.5, p. 58); and
      Economists generally, and for good reasons, do not consider single brands to
      constitute relevant antitrust markets (§ 4.3.6, p. 59).

27. Even if the foremarket/aftermarket framework were to be applied to this case, I
explain that the particular circumstances under which it could give rise to
anticompetitive concerns are not present here. I begin by explaining the historical
applications of the framework (§ 4.4.1, p. 61). I then explain why the conditions
necessary for harm are met for neither consumers (§ 4.4.2, p. 65) nor developers
(§ 4.4.3, p. 70).

28. Dr. Evans also presents six purported hypothetical monopolist tests in support of his



definition exercise, they are each fundamentally flawed and wholly uninformative in
establishing whether either of his markets are relevant antitrust product markets, for
numerous reasons. This includes failing to even attempt to control for factors that the

order to appropriately carry out hypothetical monopolist tests in a two-sided context.
Moreover, since the evidence shows that the App Store commission rate is not
supracompetitive and thus must be lower than the monopoly price, even if it were
possible to properly conduct a two-sided hypothetical monopolist test in the present
case, it is unlikely that such a test would indicate that the App Store alone would
constitute a relevant antitrust product market, as Dr. Evans claims. Given all of these




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29. I then turn to geographic market definition. I find that the relevant geographic
market is the United States (§ 5.1, p. 86). I also explain why Dr. Evans is wrong to argue
that the relevant geographic market is

30. Finally, I turn to my analysis of market power and competitive effects. I first explain
the economic principles relevant to evaluating market power, including the role of
evidence that speaks to market structure and market outcomes, as well as constraints by
factors outside of the relevant antitrust market, including potential entry and expansion
(§ 6.1, p. 91). I then review the evidence and conclude that it is inconsistent with Apple
possessing monopoly power or charging supracompetitive prices. In particular:

       The market structure demonstrates that Apple does not possess monopoly power
       in the relevant antitrust market (§ 6.2.1, p. 99); and
       Market outcomes are also inconsistent with Apple possessing monopoly power or
       charging supracompetitive prices (§ 6.2.2, p. 101).

31. I then explain that Dr. Evans has failed to establish that Apple has market power or
is charging supracompetitive prices on th



                                                  rket share of 100 percent rests entirely
       on his incorrect market definition (§ 6.3.1, p. 104);


       power is constrained by factors outside the market (§ 6.3.2, p. 105);
                                              is consistent with market outcomes for
       innovative differentiated-product firms (§ 6.3.3, p. 106);
                                            does not charge a supracompetitive
       commission rate on the App Store, and has increased the quality of its transaction
       product over time (§ 6.3.4, p. 108);
       The way Apple deals with developers has nothing to do with monopoly power
       (§ 6.3.5, p. 109);
       What Dr. Evans claims are barriers to entry to the App Store are, instead, part of


       Even if one were to analyze a foremarket/aftermarket framework, the market
       structure and market outcome evidence that Dr. Evans presents for his alleged
       foremarket are insufficient to support his claims (§ 6.3.7, p. 111).




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32.
establish that market outcomes would be improved without the challenged conduct.
China is not only a faulty benchmark but, if
would be worse for game developers and consumers who play games (§ 6.4.1, p. 113). Dr.
Evans also offers a thought experiment on counterfactual entry, but it is ill-conceived
and suffers from fatal methodological and conceptual flaws, leading to nonsensical
predictions (§ 6.4.2, p. 115).

33. I also explain that Dr. Evans ignores cr
practices. He ignores and
(§ 6.5.1, p. 119). He also fails to recognize that Apple allows developers to freely choose
among a wide variety of monetization strategies, which allow developers to pay nothing
to Apple for App Store transactions (§ 6.5.2, p. 120).

34. Overall, the evidence is inconsistent with
anticompetitive effects, whether harm to competition or threat of antitrust injury to
Epic. The evidence is instead consistent wi
the result of a superior product and business acumen (§ 6.6, p. 124).




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